
	OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. FRIESEN

	
				
            
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. FRIESEN2014 OK 84Case Number: SCBD-6178Decided: 10/13/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 84, __ P.3d __
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 


STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
LARRY DOUGLAS FRIESEN, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


The Oklahoma Bar Association (OBA), in compliance with Rule 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forward to this Court certified copies of the Criminal Information, Plea Agreement, and Judgment in Criminal Case, in which Larry Douglas Friesen entered a plea of guilty to three-counts of Willful Failure to Pay Taxes, in violation of Title 26 U.S.C. § 7203

Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Larry Douglas Friesen is immediately suspended from the practice of law. Larry Douglas Friesen is directed to show cause, if any, no later than October 24, 2014, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until November 4, 2014, to respond to Larry Douglas Friesen should one be filed.

Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Larry Douglas Friesen has until November 3, 2014, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until November 19, 2014, to respond.

DONE BY ORDER OF THE SUPREME COURT this 13th day of October, 2014.


/S/CHIEF JUSTICE



Colbert, C.J., Reif, V.C.J., Kauger, Watt, Winchester, Edmondson, Taylor and Combs, JJ., concur;

Gurich, J., not participating.



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